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UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
YITZCHOK ROKOWSKY, :
: DKT NO: 3:15-cv-02059-FLW-LHG
Plaintiff,
V. : CIVIL ACTION
SUNGAME CORPORATION,

ROBERT KLOIHOFER, NEIL
CHANDRAN, JP MORGAN
CHASE & CO., JOHN DOES 1-
100,

Defendant(s).

 

MOTION FOR DEFAULT JUDGMENT
This motion being filed by Anthony L. Velasquez, Esq., attorney for PLAINTIFF
YITZCHOK ROKOWSKY, hereby requests pursuant to Fed.R.Civ.P. 55(b)(1) the

ENTRY OF DEFAULT JUDGMENT against the DEFENDANT SUNGAME

 

CORPORATION. In support of this request, the movant Plaintiff relies upon the record

in this case and the affidavit submitted herewith.

Respectfully submitted,

   

asquez, Esq.
